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                                      IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
                                           THIRD JUDICIAL DISTRICT AT ANCHORAGE



                    GREGORY K. ARCHIBALD, and                    }
                    TERRI ARCHIBALD                              )                          COPY
                              Plaintiffs,                        }                     Originai Received
                                                                  )
                    V.                                            }                        MAR 2 6 2019
                                                                  )
                    ZIMMER, INC., a Delaware corporation, )                         Cieric of the Trial Courts
                    ZIMMER HOLDINGS, INC and              )
                    ZIMMER, U.S, INC.                     )
                                                                  )            Case No. 3AN-19- ~8'l ~i CI
                                      Defendant.                  )
                                                                  )

                                                             COMPLAINT

                              Comes now Plaintiffs, Gregory K. Archibald, and Tem Archibald, by and through

                    their counsel of record, Ingaldson Fitzgerald, P.C., and asserts as follows:

                                                               PARTIES

                             I.       Plaintiff, Gregory K. Archibald, is, and at all relevant times to this claim

                     was a resident of Wasilla, Alaska.

                             2.       Plaintiff, Terri Archibald is the wife of plaintiff Gregory K. Archibald, is,

                    and at ail relevant times to this claim was a resident of Wasilla, Alaska.

                             3.      . Defendant, Zimmer, Inc., Zimmer Holdings, Inc, and Zimmer USA, Inc.

                    (hereinafter collectively "ZinUner" or" Defendants") are corporations, incorporated in

IhIGALDSOIS,        the State of Delaware with their principal place of business in the State of Indiana, and at
FITZGERALD,
      P.C.
    t.awycrs
813 W. 3'' Avcnue
                    all times material hereto, developed, tested, assembled, rnanufactured, packaged, labeled,
   Anchor-age,
    Alasska
  995o1-2U01        prepared, distributed, marketed, supplied, and/or sold the Defective Products under the
(907)258-8750
FAx: (907) 258-
      875t                                                                           EXHIBIT A , Page 1 of 12
                    Archibald v. Zrmnter, lnc
                    Case No. 3AN-19-            CI
                    Complaint
                    Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 1Page 1 of 12
                                                                              of 12
                                                                                                              .     ~.:




                    name "Chrome Cobalt femoral head" either directly or indirectly, to members of the

                    general public within the State of Alaska, including to piaintiff.

                                                      JURISDICTION AND VENUE

                             3.        Defendant Zimmer, is a Delaware corporation with its principle place of

                    business located at 345 East Main Street, Warsaw, Indiana, and conducts business

                    throughout the United States, including the State of Alaska by developing, testing,

                    assembling, manufacturing, packaging, labeling, preparing, distributing, marketing,

                    supplying, selling, andlor otherwise placing into the stream of commerce hip replacement

                    components including the M/L Taper femoral stem in a manner reasonably calculated to

                    reach and impact the general public in the State of Alaska, including Plaintiffs.

                             4.        Venue is proper in this Court in that at present and at all material times

                    relevant to this action Zimmer had and has substantial, continuous, and systematic

                    contacts in the State of Alaska and/or committed a tort in whole or in part in the State of

                    Alaska. Pursuant to AS 22.10.030 and Alaska Rules of Civil Procedure 3 venue is proper.

                             5.        This court has subject matter jurisdiction because the Defendant does

                    business in the State of Alaska, and the harm caused by the Defendant to Plaintiff occurred

                    in the State of Alaska.

                                                      FACTUAL ALLEGATIONS

                             b.        This product liability action relates to the design, development,
INGALDSON,
FlTZGERALD,
    P.C.            manufacture, testing, marketing, promotion, distribution and sale of Zimmer's defective
   Lawyers
813 W. 3"d Avenue
   Anchorage,
     Alaska
                    hip components, the "M/L Taper femoral stem". At all times relevant to this Complaint,
  99501-200I
(907)258-8750
FAx: (907) 258-     Zimmer regularly engaged in business in the State of Alaska.
      8751                                                                   EXHIBIT A , Page 2 of 12
                    Archibatd v. Zirnmer, Inc,
                    Case No. 3AN-19- .           CI
                    Complaint                                                                Page 2 of 12
                    Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 2 of 12
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                           7.       At all times relevant to this Complaint, Zimmer placed the the "M/L Taper

                  femoral stem" components as part of their "Hip Joint Replacement System components"

                  (hereinafter "Defective Products") into the stream of interstate commerce.

                           8.       At all relevant times, Zimmer expected or should have expected that its acts

                  and omissions would have consequences within the United States, and the State of Alaska.

                           9.       Plaintiffs' damages in this matter accrued in the State of Alaska.

                                                         THE DEFECTIVE DEVICES:
                                                   "CHROME COBALT FEMORAL HEAD"
                                                  "Hip Joint Replacement System components"

                           10.      Total hip arthroplasty, commonly referred to as hip replacement surgery, is

                  the term used to describe the surgery wherein a patient's natural hip anatomy is replaced

                  with synthetic components. A patient may need a total hip arthroplasty for a variety of

                  medical reasons including degenerative bone disease and avascular necrosis.

                           11.      The hip joint connects the thigh (femur) bone of a patient's leg to the

                  patient's pelvis. The hip joint is often characterized as a ball and socket joint. The

                  acetabulum is the cup shaped soc[cet portion of the hip and the femoral head (ball) at the

                  top of the femur bone rotates within the curved surface of the acetabulum.

                           12.      A total hip replacement replaces the body's natural joint with an artificial

                  one, usually made out of inetal, plastic, or ceramic. A total hip replacement typically

                  consists of four separate components: (1) a femoral stem, (2) a femoral head, (3) an
INGALDSOY,
FITZGERALD,
     P.c.         acetabular Iiner, and (4) an acetabular shell. After the surgeon hollows out a patient's
    tawyers
813 W. 31Avenue
  Anchatage.      femur bone, the metal femoral stem is implanted. The femoral head is usually a metal or
    Alaska
   99501-2001
 (907) 258-8750
FAx: (907) 358-   ceramic ball that is fcxed on top of the fernoral stem. The femoral head forms the hip joint
     8751
                  Archibald v, Zimmer, Inc.
                                                                                                   EXHIBIT A , Page 3 of 12
                  Case No. 3AN-19-                CI
                  Complaint                                                                                                    Page 3 of 12
                  Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 3 of 12
                   I that can rotate when it is placed inside a plastic or ceramic acetabular liner that is attached

                   to the interior portion of the metal acetabular shell comprised of rnetal on its outer surface.

                   When complete, the femoral stem anchors the femoral head that rotates within the

                   acetabular liner sitting inside the acetabular shell. Historically, femoral heads were not

                   made with chrome and cobalt.

                            13.       At all times material hereto, the Zimmer Defendants developed, designed,

                   tested, assembled, manufactured, packaged, labeled, prepared, distributed, promoted,

                   marketed, supplied, sold andlor warranted the Defective Devices either directly or

                   indirectly, to members of the general public throughout the United States and the State of

                   Alaska, including to Plaintiff.

                            14.       The Defective Devices are modular femoral hip replacement devices to be

                   used in total hip replacement surgery. They are indicated for patients requiring primary

                   total hip arthroplasty due to painful joint disease of the hip resulting from non-

                   inflammatory degenerative arthritis including osteoarthritis and avascuiar necrosis.

                            15.       As noted, the Defective Devices are critically different from most

                   t.raditional femoral heads used in total hip replacements because they consist of two basic

                   modular components: a chrome cobalt head component that is inserted into offset M/L

                   taper stem and then into an acetabular shell.

                            16. The defective design and manufacture of the Defective Devices allows
  INGALDSON,
 FITZGEEtALD,
       P.C.        fretting and corrosion to occur at the Morse taper junctions between the femoral head and
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    A)aska
                   M/L taper stem, and the liner of the hip replacement components. The fretting and
  99501-2001
(907) 258-8750
FAX: (907) 258-    corrosion allows metal ions, including cobalt and chromium, to be released into the
     8751
                   Archibald v. Zirnmer, lnc.                                EXHIBIT A , Page 4 of 12
                   Case No. 3AN-19-             CI
                   Complaint                                                                  Page 4 of 12
                    Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 4 of 12
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                              surrounding tissues. The fretting and corrosion and release of ions also manifest in

                              increased cobalt and chromium blood levels of the patient. These cobalt and chromium

                              ions destroy surrounding tissue and bone often causing pseudotumors and a condition

                              called metallosis.

                                                                                      FACTUAL ALLEGATIQNS

                                                          17. Prior to May 10, 2012, defendant Zimmer manufactured the

                          I following components:

                                                a.        A Zimmer size 51 mm Acetabular Cluster hoie shell, Model Number 5360- '

                         1 00-051; Lot Number 61761259;

                                                b.        A Zimmer Durasul Insert 32 X 51 mm Acetabular System, Model Number .

                         1 4376-32-051; Lot Number 61828395;

                                                C.         A size 4 M/L Taper Stem Model Nurnber 00-7711-004-10, Lot Number I

                         160765898;

                                                d.    ,A Versys Chrome Cobalt femoral Head 32 MM, Model Number 00-8018- ~

                         1 032-02, Lot Number 62028850;

                                                e.        CAP H2 Hip Noncem #D Prest ARTH Model Number H2 NC 3D PressHip

                          I Lot Number 387499.

                                                These components, hereinafter referred to as "Defective Products" were surgically I

                              implanted in Mr. Archibald's right hip by Dr. Stephen Tower on May 10, 2012 I
       INGALDSON,
     , F'ITZGERALD,
              P.C.            Providence Alaska Medical Center in Anchorage, Alaska.
             L.awyers
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         Anchorage.                             18.
           Alaska
                                                           Following his surgery, Mr. Archibald followed his physician's orders, and
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      (907) 258-8754
     FAX: (907) 258-          returned for follow up care as ordered.
              8751
                              Archibald v. Zimmer, !na
                                                                                                  EXHIBIT A , Page 5 of 12
                              Case No. 3AN-19-                           CI
                              Complaint                                                                               Page 5 of 12
                              Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 5 of 12
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                                            19.         Mr. Archibald was experiencing symptoms that included were diagnosed

                             i as Parkinson's disease in the summer of 2017. In October of 2017 he was experiencing

                              other signs related to metallosis, including pain in his hip area, Ioss of hearing, cognitive

                              dysfunction. I-ie continued to be followed for his cobalt Ievels, and continued to show

                             symptoms of inetallosis poisoning, and increasing cobalt levels in his blood, and was

                              advised to have right hip revision surgery.

                                            20.         On October 18, 2018, Mr. Archibald underwent a revision surgery for his

                             right hip with Dr Stephen Tower. Dr. Tower found symptoms of inetallosis corrosion in

                             his right hip, including a pseudo tumor.

                                             21.            At all material times, Zimmer failed to disclose to the FDA, healthcare

                             professionals, consumers, or Plaintiff, the information it possessed concerning the

                             defective nature of the "Hip Joint Replacement System" and the actual adverse medical

                             events, injuries and need for replacement surgery suffered by patients. Instead, upon

                             information and belief, Zimmer actively promoted the "Hip Joint Replacement System"

                              for patients without informing them of the dangers of Cobalt/ Chromium metallosis.

                                           22.              At all material times, Zimmer concealed information about pain and

                             suffering following insertion of the "Defective Products" and the need for replacement

                             surgery.

                                             23.            At all material times, the "Defective Products" manufactured andlor
INGALDSON,
FTTZGERALb,
      P.C.                   supplied by Zimmer, was unaccompanied by proper warnings regarding all possible
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     Aiaska
                             adverse consequences and the alarming rate of failure of the aforesaid product and the
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(907)258-8750
FAX: (907) 258-               need for replacement surgery.
     8751                                                                                                                  EXHIBIT A , Page 6 of 12
                             Arcltibald v. Zimmer. lnc.
                             Case No. 3AN-19-                    CI
                             Complaint
                               Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 6Page 6 of 12
                                                                                         of 12
                             24.       As a direct and proximate result of Zimrner placing the Defective Products

                   into the stream of comrnerce, plaintiff Gregory K. Archibald has suffered and continues

                   to suffer both injuries and damages in the State of Alaska, including but not Iimited to:

                   past, present, and future physical and mental pain and suffering; and past, present and

                   future medical, hospital, monitoring, rehabilitative expenses.

                             25.       As a direct and proximate result of Zimmer placing the Defective Products

                   into the stream of commerce, plaintiff Terry K. Archibald has suffered and continues to

                   suffer both injuries and damages in the State of Alaska, including but not limited to: loss

                   of consortium and loss of companionship.


                                                        CAUSES OF ACTION
                                                            COUNTI
                                                    (STRICT PRODUCT LIABILITY)

                             26.       PIaintiffs incorporate by reference, paragraphs 1 through 25 above, as if.   .I




                   fully set forth herein.

                            27.       At all times material hereto, Zimmer engaged in the business of developing,

                   testing, assembling, manufacturing, packaging, labeling, preparing, distributing,

                   marketing, retailing, supplying and/or selling the Defective Products and through that

                   conduct placed the Defective Products into the stream of commerce in the State of Alaska.

                            28.       The Defective Products were defectively designed and/or manufactured so
  INGALDSON,
 FITZGEwU.A,       as to be unreasonably dangerous to consumers.
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       Alaska
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                   Archibald v. Zimmer, lnc.                                EXHIBIT A , Page 7 of 12
                   Case No. 3AN-19-            C[
                   Complaint                                                                 Page 7 of 12
                   Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 7 of 12
                            29.     The Defective Products were intended for use in hip replacement procedures

                   for consumers. Mr. Archibald became a consumer and relied upon the safety of

                   Defendant's product.

                            30.       Zimmer failed to warn the public, including Mr. Archibald, of the risk of

                   suffering the type and rnanner of injuries suffered by Mr. Archibald, which risks and/or

                   dangers were known or should have been known to Zimmer.

                            31.       Zimmer expected its Defective Products to reach, and it did in fact reach,

                   consumers in the State of Alaska, including Mr. Archibald, without substantial change

                   in its condition.

                            32.       Zimmer knew and intended that its Defective Products would be purchased

                   from Zimmer by members of the general public and would be used by such purchasers

                   without any inspection for defects.

                            33.     As a direct and proximate result of the defective and unreasonably dangerous

                   condition of the Defective Products, Mr. Archibald sustained injuries and damages which

                   will be proven with more specifcity at triai.



                                                     COUNT II
                                    (BREACH OF EXPRESS AND IMPLIED WARRANTIES)

                             34.       Plaintiff incorporates by reference, paragraphs 1 through 33 above, as if
 INCALDSON,
 FITZGERALD,       fully set forth herein
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     I,awyers
813 W. 31 Avenue              35.       At the time and place of the sale, distribution and supply of the Defective
   Anchorage,
      Alaska
   99501-2001      Products to Plaintiff, Zimmer expressly represented and warranted that its product ,was
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                   Archibald vu Zimmer. Inc.
                                                                              EXHIBIT A , Page 8 of 12
                   Case No. 3AN-19-_CI
                   Complaint                                                                  Page 8 of 12
                   Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 8 of 12
                   I safe, and impliedly warranted that the product was reasonably fit for its intended purpose j

                   and was of marketable quality.

                               36.       Zimmer's Defective Products were unfit and unsafe for use by users as it

                    posed an unreasonable and extreme risk of injury to persons using said product, and

                   accordingly Defendant breached both express and implied warranties.

                              37.       As a direct and proximate result of Zimmer's breach of warranty, Mr.

                    Archibald susEained injuries and damages which will be proven with rnore specificity at

                   I trial.

                                                               COUNT III
                                                            (NEGLIGENCE)

                              38.       Plaintiffs incorporate by reference, paragraphs 1 through 37 above, as if I

                   I fully set forth herein.

                              39.      Zimmer was under a duty to use reasonable care in the design, manufacture, j

                   and the provision of warnings accompanying the Defective Products.

                              40.     Zimmer was under a duty of care in the distribution and sale of its Defective

                   I Products so that they would be reasonably safe for their intended use.

                              41.      Zimmer breached this duty by, among other things:

                                        a.       Failing to exercise care in designing, developing, manufacturing,

                    retailing, distributing and selling its Defective Products so as to avoid the above risks to
 INGALDSON,
FITZGEItALD,       I individuals using the product;
      P.C.
    Lawyers
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FAX: (907) 258-
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                    Archibatd v. Zinuner, !nc
                                                                              EXHIBIT A , Page 9 of 12
                    Case No. 3AN49-             Ct
                    Complaint                                                                 Page 9 of 12
                    Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 9 of 12
                                      b.       Failing to include adequate warnings with its Defective Products

                  which would alert Plaintiff and other consumers to its potential risks and serious side

                  effects;

                                       C.          Failing to adequately and. properly test its Defective Products

                  before placing them into the stream of commerce;

                                      d.           Failing to conduct sufficient testing on its Defective Products,

                  which if properly performed, would have shown that the products had serious side effects,

                  including, but not limited to, loosening and causing pain and discomfort in the hip;

                                        e.           FaiIing to provide adequate post-rnarketing warnings or

                  instructions after Zimmer knew, or should have known, of the significant risks of injuries

                  and events from the use of the Defective Products.

                           42.      As a direct and proximate result of Zimmer's negligence, Mr. Archibaid

                  sustained injuries and damages which will be proven with more specificity at trial.

                                                               COUNTIV
                                                         (MISREPRESENTATION)

                           43.      Plaintiff incorporates by reference, paragraphs 1 through 42 above, as if

                  fully set forth herein.

                           44.      At all relevant times, Zimmer represented to Plaintiff directly and/or

                  through [heir agents, servants and representatives, that the Defective Products were fit for
  INGALbsON,
 FITZGElLALn,     intended uses and would otherwise benefit users.
       P.C.
     Lawyers
813 W.3b Avenue            45.      Zimmer made such representations, knowing they were false and that
    Anc6orsge,
      Alaskn
   99501-?001     Plaintiffs would rely upon sarne.
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                  Archibat4 v. Zonmer, Inc.
                                                                              EXHIBIT A , Page 10 of 12
                  Case No. 3AN-19-            CI
                  Complaint                                                                    Page   10 of I2
                  Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 10 of 12
                               46.     Mr. Archibald did, in fact, rely upon Zimmer's representation to his

                    1 detriment.

                               47.     Mr. Archibald's reliance upon such statements was reasonable.

                               48.     As a direct and proximate result of Zimmer's misrepresentations, Mr.

                    I Archibald suffered injuries and damages which will be proven with more specificity at

                    I trial.

                                                             COUNT VI
                                                        (PUNITIVE DAMAGES)

                               49.     Plaintiffs incorporate by reference, paragraphs 1 through 48 above, as if

                    I fully set forth herein.

                               50.      Prior to the manufacturing, sale and distribution of the Defective Products,

                    I Zimmer knew, or was reckless in not knowing, that the products were in a defective

                    I condition and that those who were implanted with such devices were at an unreasonable

                    I risk of experiencing injury. Zimmer through its officers, directors and managing agents,

                    ~ had notice and knowledge from several sources, prior to the date of marketing and sale of

                    I the Defective Products to Mr. Archibald, that the products presented a substantial and

                    ~ unreasonable risk of harm to the consumer, including Mr. Archibald, and as such said

                    I consumers were unreasonably subjected to risk of injury from the use of those products.

                               51.       Despite such knowledge, Zimmer, through its officers, directors and
 IIVGALD50N,
FITZGERALD,         ~ managing agents, knowingly and deliberately failed to remedy the known defects in its
      P.C.
    Lawyers
813 W. 3"' Avenue   l product and failed to warn the public, including Mr. Archibald, of the serious risk of
   Anchorrage,
    Alaska
  99501-2001        I injury occasioned by the defects inherent in the Defective Products.
(907)258-8750
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     8751                                                                     EXHIBIT A , Page 11 of 12
                     Archibald v. Zimmer, lac.
                     Case No. 3AN-19-            CI
                     Complaint                                                Page 1 I of 12
                     Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 11 of 12
                            52.        Upon information and belief, Zimmer's failure to notify the public,

                  including Mr. Archibald was for the purpose of ihcreasing sales and enhancing their

                  profits and Zimmer intentionally proceeded with manufacturing, selling and marketing of

                  the Defective Products knowing that persons would be exposed to serious potential

                  danger, in order to advance their own pecuniary interests.

                            53.       The actions of Zimmer as noted herein were outrageous and demonstrated

                  reckless indifference to the welfare of the intended users of the Defective Products, and

                  was done so as to profit its own self-interests and as such warrant exemplary damages.



                            WHEREFORE, Plaintiff prays for the following relief:

                            1.        For a judgment against Defendant Zimmer and in favor of plaintiff, and in

                  an amount in excess of $250,000, the exact amount to be proven at trial;

                            2.        For prejudgment interest, punitive damages, costs and attorney's fees; and

                            3.        For such other and further relief as this court deems just and equitable.

                                 ,

                            RESPECTFULLY SUBMITTED this 21 st day of March, 2019.

                                                            INGALDSON FITZGERALD, P.C.
                                                            Attorneys for Plaintiffs



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FITZGERALD,                                                       Peter Sandberg
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     8751                                                                    EXHIBIT A , Page 12 of 12
                  Archibuld v. Zimmer, /nc. •
                  Case No. 3AN-19-               CI
                  Complaint
                  Case 3:19-cv-00116-SLG Document 1-1 Filed 04/18/19 Page 12Page
                                                                              of 12
                                                                                 12of 12
